       Case 4:22-cv-03101-JSW Document 14 Filed 08/05/22 Page 1 of 2



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 6   Attorney for Plaintiff

 7                       UNITED STATES DISTRICT COURT
 8                     NORTHERN DISTRICT OF CALIFORNIA
                              OAKLAND DIVISION
 9

10
     RACHAEL MARZOLINE,                      Case No. 4:22-cv-03101
11
                     Plaintiff,              NOTICE OF SERVICE OF: ORDER SETTING
12                                           CASE MANAGEMENT CONFERENCE AND
            v.                               REQUIRING JOINT CASE MANAGEMENT
13                                           CONFERENCE STATEMENT
     THE LITIGATION PRACTICE
14   GROUP, PC.,
15                Defendant.
16

17

18         I, Nicholas M. Wajda, an attorney, hereby certifies that on August 1, 2022, a
     copy of the Order Setting Case Management Conference And Requiring Joint Case
19   Management Conference Statement [Dkt. 12] was sent via email to all counsel of
20   record in accordance with Fed. R. Civ. P. 4 and 5, and Civil L. R. 5-5(a).
21

22   DATED: August 5, 2022                         Respectfully submitted,
23
                                                   /s/ Nicholas M. Wajda
24                                                 NICHOLAS M. WAJDA
                                                   (State Bar #259178)
25
                                                   Attorney Email Address:
26                                                 nick@wadjalawgroup.com
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       Case 4:22-cv-03101-JSW Document 14 Filed 08/05/22 Page 2 of 2



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 2                                                   Facsimile: (866) 286-8433
                                                     Attorney for Plaintiff
 3

 4
                                CERTIFICATE OF SERVICE
 5         I hereby certify that on August 5, 2022, I electronically filed the foregoing with
 6   the Clerk of the Court for the Northern District of California by using the CM/ECF
     system.
 7

 8       Participants in the case who are registered CM/ECF users will be served by the
     CM/ECF system.
 9

10         I further certify that some of the participants in the case are not CM/ECF users.
     I have mailed the foregoing document by USPS Mail, postage prepaid to the
11   following participants:
12
                        THE LITIGATION PRACTICE GROUP, PC.
13                              C/O DANIEL S MARCH
14                           17542 E 17TH STREET STE 100
                             TUSTIN, CALIFORNIA 92780
15

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                                                     /s/ Nicholas M. Wajda
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